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        Exhibit 36-B
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             Q.    Would it be consistent with the State's theory of
   2 the case?
   3         A.   Well it would be consistent that somebody attempted
   4 to kill him, knew that he was alive by some way, and was going
   5    to come and take care of it again. So I suppose it could be.
             Mr. Flynn was, I believe he was deceased at that time.
   6
   7         Q.    I think on the way in.
   8         A.   Well, according to the testimony, he was -- there
   9 was not much that could be done while he was there in the
  10    orange grove. It was some 45 minutes later that medical staff
  11   arrived. It was a real tragedy.

  12              MR. GRUBER: I'm going to ask about, just about

  13         the circumstance of Sheila's affidavit. That

  14         shouldn't be too long.
  15              THE COURT: Okay.
  16 BY MR. GRUBER:

  17         Q.   The recanting affidavit from Sheila Green, you

  18   recall that, of course?

  19         A.   Yes, sir.

  20         Q.   What were the circumstance of that?

  21         A.   I received a call from Mr. Becker at the attorney --

  22   I'm sorry, that he was handling the appeal. He called

  23   inquiring of whether or not -- he was handling the appeal.

  24 The arguments had been made. At some point in time, he called

  25 me and said that he had this particular affidavit from Sheila


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   1 Green recanting.
   2         I said, Holy cow, you know? And then he asked me if I
   3   had the original.
   4         I said no, I do not have an original. I don't know what
   5 you're talking about, other than you calling me, and telling
   6 me this. I said, well, you need to file something so that we
   7   can bring this to the Court's attention before there is some

   8   sort of ruling.
   9         I remember I was really disappointed. He said, Well,
  10   there is nothing I can do, or words to that effect. I was
  11   angry. So I then saic4 Send it to me. I filed some paperwork
  12 in the Trial Court. And at that time, Mr. White educated me

  13   as to the jurisdictional problem.

  14         We showed up in front of Judge Stein, I believe it was,
  15 and there had been no relinquishment of jurisdiction from the
  16 Supreme Court back to the Trial Court to hear any issue, at
  17 this point in time, based on this recantation, and that the
  18 Court, was evidently at a point in time where an opinion was
  19' forthcoming, and I didn't proceed any further because I was
  20 calling the Court about every three or four days, or five
  21 days, or weekly, trying to find out where the opinion was, how

  22   soon, that sort of thing.

  23         So pretty much in terms of any further effort, at that

  24   time, fora new trial, I didn't do anything.

  25         Q.   You were off the case, as far as you were concerned,



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   3.   at that point anyway?
   2         A.      I was not officially assigned to the case, but in
        terms of -- I was gratuitously -- I was angry, and felt like
        this needed to be done, so I did it.
             Q.      Did you actually receive the affidavit in question?
             A.      I did, a copy.
   7         Q.      A copy. So do you know where the original went?
             A.      Never saw the original.

   9         Q.      Was there an issue about an affidavit disappearing,
  10    of being destroyed, in some fashion, or flushed?

  11         A.      You know, I'm sure that was an issue. I recall

  12    contacting the Federal prison in Kentucky, and speaking to the
  13    person who then identified herself as Sheila. I said, Where
  14    is the original? What happened? I need this. And I said,

  15    Can you execute an original, and send it to me?

  16         And she said, Yes. I never got it. I made attempts to

  17    contact her again at .the prison. She would not take my calls,

  18    or was precluded, or was stopped from taking my calls.
  19         Q.       Did you have any official relationship with Sheila

  20    Green as an attorney, or anything of that sort, to your

  21    knowledge?

  22         A.      No. Other than the attorney representing her

  23    brother, who cross-examined her.

  24         Q.      Well at that point, did you still have a copy of the

  25    affidavit?


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1             A.   I believe I did.
    2         Q.   What did you do with it?

    3         A.   I filed it with the motion. I filed a copy with the
    4   motion, certified a copy to, I believe the State, certainly

    5 would have done that, and retained a copy for my records.
    6         Q.   Then you withdrew the motion because jurisdiction
7       still remained in the Florida Supreme Court?
8             A.   We got actually into the courtroom and Mr. White
    9 showed me some cases. I recognized it. We explained that to
   10 the judge, and it was deferred. There was no prejudice to me

11      refiling the motion at a future date.
   12              MR. GRUBER: What I have here would probably
   13         finish up, and would go longer than 15 minutes, in

   14         the neighborhood of a half an hour, or so.

   15              THE COURT: You want to break now for lunch?

   16              MR. GRUBER: Sure.
   17              THE COURT: Let's get a lunch break, and come
   18         back at 1:15.
   19               (Whereupon, a lunch recess was had.)

   20              THE COURT: Ready to proceed?

   21              MR. GRUBER: Yes, sir.

   22 BY MR. GRUBER:
   23         Q.   Some follow-up questions I thought about. How much

   24   did you bill, per hour, in this case?

   25         A.   Oh, my.



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             Q.      Was it $50.75, or something like that?
             A.      I think it ended up being something like $50.00 an
    3   hour. That's my best guess.
    4        Q.      There was some kind of challenge to the total.
    5   you know what that was about?
    6        A.      I know that when they went through it, I had a
        computer system, I did a lot of the typing of my own process,
   8    and things of that nature. When I billed it to them, they had
    9   refused to pay it because they said that's not attorney's
  10    work. That kind of work had to be subsumed into your hourly.
  11    I hit the ceiling.
  12         Q.      Okay.

  13         A.      They carved about $7,000 off the top.

  14         Q.      In the Preston case that you talked about, it

  15    appeared that the case, or at least the part you described it,

  16    the way you described it, turned on the credibility of the dog

  17    handler. Is that an accurate statement?
  18         A.      I believe, yes.

  19         Q.      Did you request Internal Affairs, report Odell

  20    Keiser?

  21         A.      No.

  22         Q.      When you went into this case, when you started the

  23    trial, you were reasonably confident. Is that a fair

  24    statement?

  25         A.      Yes.


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   1         Q.   Were there -- what could be described --
   2               THE COURT: Competent, or confident?
   3              MR. GRUBER: Excuse me, confident.
   4              THE WITNESS: I would like to think I was both,
   5         Judge. I was confident, yes.
   6    BY MR. GRUBER:
   7         Q.   Were there, what might be described as turning
   8   points in the case?
   9         A.   Well, Sheila's testimony, Mr. Karns' testimony,
  10    that's what sticks out in my mind.
  11         Q.   As a result, or at least after Sheila's testimony,
  12   did you engage in plea discussions?
  13         A.    I did.

  14         Q.   Was that prompted by Sheila's testimony?

  15         A.   It was.

  16         Q.   Up until that time, had there been any plea

  17   discussions in the case?

  18         A.   The only plea discussions were had between myself,

  19   and I think it was Mr. White, and Mr. Williams, when we would

  20   go over to FDLE to depose some of the FDLE analysts. They

  21   were hinting at a plea as charged to 1st Degree murder,

  22   waiving death, and I think I was somewhere around

  23   manslaughter, and we were arguing, friendly argument, back and

  24   forth about how they were going to lose the case.

  25         Q.   After Sheila's testimony, some plea negotiations



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   1 occurred?
   2         A.   That's correct.
   3         Q.   Just before we reconvened here, I showed you some
   4 excerpts from the trial. Have you had a chance to look over
       those?
   6         A.   Yes, sir.
   7         Q.   One of them concerned what we talked about an hour
   8 or so ago, with regard to the dog, and the testimony of Odell
   9   Keiser. For the record, it's pages 1344 through 1346 of the
  10   trial transcript. Did that refresh your recollection, at all,
  11 with regard to what occurred during the trial?

  12         A.   Yes.
  13         Q.   Apparently, and also the pages that I just cited
  14   reflect examination that occurred out of the presence of the
  15   jury, as I understand it.
  16         A.   Okay.

  17         Q.   Apparently at that time, there was -- Odell Keiser
  18 indicated that he had some notes in his back pocket, or

  19   something of that sort.

  20         A.   Right.

  21         Q.   Go ahead and say what you recall about this. It

  22 might shed some light.

  23         A.   That he had notes in his back pocket regarding the

  24   events that he wanted to testify to, but the notes in his back
  25 pocket confirmed that the dog tracked to the intersection, the



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        middle of the intersection. However, the judge, Judge Antoon,

        did a good job of rehabilitation on that, outside of the
   3    presence of the jury, and established for the record, at least
   4    in his mind, what Mr. Keiser actually meant. Did I look at
   5    those notes?
   6         Q.      Yes.

   7         A.      Probably, but I don't have a recollection of it.
   8         Q.      So you wouldn't be able to say whether they were
   9    something you received before, or not?
  10         A.      No.
             Q.      I also asked you to look at Jerome Murray's

  12    testimony.
  13         A.      Yes, sir.

  14         Q.      And that concerned the part of his testimony that
  15   dealt with his criminal history.
  16         A.      Yes, sir.

  17         Q.      Did you get a chance to look at that?

  18         A.      I did.

  19         Q.      Let me summarize that, and I'll ask you to say

  20   whether or not that agrees with what you recall. Mr. Murray

  21   was examined on direct examination, evidence was brought out

  22   that he had a previous misdemeanor conviction, that he had a

  23   probation violation, unspecified, whether it was a misdemeanor

  24   or otherwise, that arose after his original statement against

  25   Crosley Green, and that the State Attorney's Office assisted



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       1    him in obtaining release on that probation violation. I
       2    believe that was the totality of evidence with regard to his
       3    criminal history on direct examination.

       4         And then on cross-examination, you attempted to impeach

       5    him by asking a question to the affect that, are you the same
       6    Jerome Murray who was convicted of a sexual assault at some
       7    time, right?

       8         A.    Right.

       9         Q.    At some time, there was an objection to improper

      10    impeachment, and a bench conference of some sort. The




•
      11    objection was sustained. And then the judge gave an
      12    instruction to the jury to disregard the previous question and

      13    answer.

      14         A.    Okay.

      15         Q.    Okay. Now, in general, you did get some decent

      16    impeachment out of Mr. Murray. Is that a correct statement?

      17         A.    I thought.

      18         Q. .Do you recall about what that was?

      19         A.    That he said he had consumed two six packs of, I

      20    believe it was malt liquor.

      21         Q.    Bull?

      22         A.    Bull, and that he was just, by chance, happened to

      23    be down on Jump Street, or Easy Street, hanging out with a

      24    bunch of crack monster. He wasn't doing crack, he was just

      25    hanging out with them.



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               He didn't know anybody's names. And out of the crowd, as
          fate would have it, the defendant came to him and just started
          spilling his guts about how he needs to lose himself because
      4   he was involved in a shooting, or something along those lines.
     5         Q.    I believe he used the term rock heads, to refer to
     6    the individuals he was with?
     7         A.    Yes.
     8         Q.    He said about.20 to 30 of them. He could not
     9    remember a single name?

    10         A.    No.

    11         Q.    He admitted that he was drunk at the time?
    12         A.    Yes.
%o n           Q.    Did he deny using cocaine?
    14         A.    He did deny using cocaine. He did recall what he

    15    was wearing that evening.

    16         Q•    I'm sorry?

    17         A.    He did recall what he was wearing that evening.

    18         4.    Beyond what I just described, are you aware of the

    19    jury being given any information that Jerome Murray had a more

    20    extensive criminal history?

    21         A.    No.

    22              MR. GRUBER: I'm going to move into evidence,

    23         or at least ask that a number of exhibits be

    24         sequentially marked. I'll come back to them.

    25    BY MR. GRUBER:



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       1         Q.    First of all, the particular question that you asked
       2   in an effort to impeach Mr. Murray, was that improper.
       3   impeachment?
       4         A.    It was improperly formed.
       5         Q.   How so?
       6         A.    I think I should have asked, Isn't it true that
       7   you're the Jerome Murray that was convicted of a crime,
       8   punishable in excess of one year in the State prison system,
       9   or by one involving deceit, or deception.
      10         Q.   Okay. At the time of the trial, did you know that




•
      11   Mr. Murray had felony convictions?
      12         A.   I did.
      13         Q.   How did you come about that information?
      14         A.   I suppose I had his prior record, Mr. Gruber.
      15         Q.   Of the three witnesses, Sheila and Lonnie, okay, you
      16   did not attempt to depose them, is that true?

      17         A.   I did not.

      18         Q.   There was a reason for that, correct?
      19         A.   Yes.
      20         Q.   Which was?
      21         A.   After consulting with Mr. Green, we felt like it was

      22   best to put her on the stand cold, without giving her some

      23   sort of idea where we were going with cross-examination.

      24   That's what we did.

#   25           Q.    In retrospect, did that work?


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   1          A.   In my mind, as I told Crosley, she basically -- her
   2     testimony strapped him in.
   3 •        Q.   In other words, no?
   4          A.   No.
   5          Q.   Jerome Murray, did you attempt to depose him?
   6          A.   No.
   7          Q.   You sure of that?
   8          A.   It seems to me his name was given to me at some
   9     point in time closer to the trial. I don't think I deposed
         him. Did I attempt to, I don't remember deposing him. Maybe
         I did.
                   MR. WHITE: Mr. Gruber, I have looked at that,
              and I'll stipulate that he did, in fact, send out a
              subpoena, and scheduled him for a deposition, if
  15          that's what you're getting at.
  16               MR. GRUBER: Yes. As I understand it, we would
  17          have a stipulation that Mr. Parker did attempt to
  18          depose Jerome Murray, and apparently, Murray failed

  19          to appear for his scheduled deposition, and a
  20          certificate of non-appearance was obtained.
  21               THE WITNESS: Okay.
  22     BY MR. GRUBER:
  23          Q.   Along with -- well, do you know, with anymore

  24     specificity, about what information you have, what

  25     documentation you had about Mr. Murray's criminal history at


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          1   the point of trial?
          2         A.   Do I recall what document it was that I reviewed,
              that gave me that information, I do not.
          4         Q.   What documents, if any, did you have?

                    A.   I do not.

          6         Q.   Do you know where you may have gotten them?
          7         A.   I do not.
                    Q.   Do you recall seeing rap sheets in your preparation

          9   of this case?

         10         A.   Do I have a specific recollection?

         11         Q.   That's why I tried to make it general. Do you



•        12
         13
         14
         15
              recall ever seeing rap sheets at all?
                    A.   I can assume I did, Mr. Gruber, but I don't
              recollect it in my mind's eye right now.

                    Q.   Actually , is it not true that rap sheets can only

         16   be obtained by law enforcement agencies?

         17         A.   Generally.

         18         Q.   As defense counsel, you can't call up someone and

         19   just request it over the phone. You need the assistance of

         20   the State to obtain these rap sheets.

         21         A.   Or the court.

         22         Q.   Having said that, do you know where you received any

         23   information regarding Murray's prior record?

         24         A.   I do not.

4   111, 25         Q.   But you did know that he had one?


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       1         A.    I did.
       2         Q.    You did not ask him the specific questions, have you
           been convicted of a felony, have you been convicted of a crime
       4   involving dishonesty?
                 A.    That's correct.
       6         Q.    Did you have any possession, at the time of trial, a
           certified copy of a judgment of guilt and sentence?

       8         A.    I think I would have, or I would not have asked the
       9   question.
      10         Q.    Well, did you attempt-to introduce it?

      11         A.    I did not.

      12         Q.    Did you take any further steps proving to the jury

      13   that Jerome Murray had a prior felony?

      14         A.    Did not.
      15         Q.    Why not?
      16         A.    Well, you had to see Mr. Murray's testimony. You

      17   had to see him. He looked drunk. It just was -- frankly, I

      18   was surprised that the prosecution put him on.

      19         There again, evidently I was wrong. It may have had some

      20   impact in terms of the case, but I mean, it looked like a

      21   complete broken down drunk that would say anything to get out

      22   of jail. I think the jury -- I hoped the jury would feel the

      23   same way.

      24         So his prior record, when I got out the fact it was a

      25   sexual assault, the State reacted very forcefully. To me,

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        that was communicating to the jury, okay, this guy, not only
        is he a broken down drunk, he wanted to get out of jail, he
        has not only a significant record, but one for sexual assault.
             Q.      That entire discussion occurred off the record --
        not off the record, but out of the presence of the jury,
        right, subsequent to the objection?
                     MR. WHITE: Your Honor, I have to object. I
             think the record, as he's established it clearly,
             indicates this was a question he asked in front of
             the jury. Our objection was made, and sustained,
             all in front of the jury.
                     I don't know why he's --
                     THE COURT: So your legal objection is?
                     MR. WHITE: I object, he's misleading the
             witness, and falsely stating the evidence in this
             case.
                     THE COURT: I can't tell that.
                     MR. WHITE: I'll withdraw that.
                     THE COURT: What's the relevance?
       BY MR. GRUBER:
             Q.      This time, I think they're marked. Actually, I
       think I'll wait a little bit. I think we're going to have
       some discussion about each one of those exhibits. It might be
       easier to do it sometime thereafter.
             What is the significance of the testimony that the


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   1    violation of probation occurred after Mr. Murray had given a
   2    statement against Mr. Green, although prior to the trial?
             A.     What was the significance? Say that again. As I
   4    understand it --
   5         Q.     Well, it's easier to lead you. If he's already
   6    given a statement without anything hanging over his head,
   7    later on he has some sort of legal problem, the State helps
   8    him with that legal problem, he then gives_testimony that is
   9    consistent with his statement, that would tend to rebutt any
  10    argument that the assistance from the State induced him to
  11    give false testimony?
  12         A.     A violation of probation is a no bond warrant.
  13         Q.     Whatever it might be?
  14         A.     He received some benefit as a result of that. Now,

  15    as we sit here today, it seems that, and I can't recall when

  16    the statement was given in terms of when he was released from
  17    jail on that, so I don't know. I don't recall that.
  18         I mean, I don't recall when the statement was given, his

  19    statement, allegedly to the police, or to the State in

  20    relation to when he was actually arrested for violation of

  21   probation.
  22         For all I know, the State could have known he was in

  23   violation at the time he gave the statement. I don't know
  24   when that was alleged to have been committed. Am I making

  25    sense?


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       1           Q.     Yeah, but I don't think it's responsive. Let me
       2   move on.
       3                  THE COURT: I think what he's asking, is
       4           Mr. Murray made a statement against Mr. Green's
       5           interests before he had any legal problems.
       6                  THE WITNESS: Before he was arrested for the
       7           VOP?
       8                  THE COURT: Then he gets a - VOP before the
       9           trial, he goes to trial, and basically says the same
     10            thing he said in the statement. He says, how does
     11            that --
     12                   THE WITNESS: The only thing I can imagine was
     13            that he was in violation at the time that he gave
     14            his statement, but hadn't been arrested for it yet.
     15            That would be my only reason for doing that.
     16    BY MR. GRUBER:
     17            Q.     What I'm getting at, in fact, he did have some
     18    serious legal problems at the time he gave his statement.
     19    That would be important information. Do you understand that?
     20            A.     Yes, I do, Mr. Gruber. It could be. But like I
     21    say, if you had seen the deMeanor of the witness, believe me
     22    when I tell you, I just -- he was unbelievable, no matter
     23    what.
     24            I'm sure I could have beat him to death, and impeached
All 25     him to death. Maybe I should have done that. In retrospect,


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1       maybe I should have, but I didn't do that.
    2         Q.    Just in reading, have you ever heard a distinction
    3 between the credibility of a witness, and the credibility of
    4 the witnesses testimony?
              A.   Well, I'm sure there is that distinction and I --
    6   you know, sure.
    7         Q.    You indicated that we did have documentation with
    8   regard to Murray's prior record, correct?
    9         A.    I said that I wouldn't have asked the question if I
   1 0 didn't have something that indicated a conviction. Whether or

11      not I had a judgment and sentence, certified copy, I would
   12   have to back off of that answer. I don't know if I had that.
   13         Q.    I'll show you what's been marked as Defendant's
   14   Exhibit K. It's filed a felony request for pretrial release.

   15   First I'll ask you if you have ever seen that document before.
16            A.    I don't recall.
   17              MR. GRUBER: I'll go ahead and move Defendant's
   18         Exhibit K into evidence. I anticipate an objection.
   19              THE COURT: Which one is K?

   20              MR. WHITE: May I?
   21              THE COURT: Yes, let Mr. White see it.
   22              MR. WHITE: No objection.
   23              THE COURT: Okay, that will be the next Defense
   24         Exhibit.
   25              MR. WHITE: Judge, well I assume he's not


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         1         introducing it as proof of a conviction. It's not
         2         that. Do you have some other reason? I'll do it
         3         legally. I object to relevance, unless he can state
                   some reason as to why it's relevant. I think I know
         5         why.
                          THE COURT: What is it, Mr. Murray's
         7         conviction?
         8                MR. GRUBER: No, The argument I have with
         9         regard to this one is that it is case number
       10          88-3109-CFA. That is a felony case. This
       11         particular document does not indicate which felony
       12          is involved; however, it has a notation that it is,
fib    13          first of all, a request for pretrial release, and a
       14          notation that the release is requested by a homicide
       15         barker, I guess, a law enforcement officer, but

       16          also, Assistant State Attorney, Mike Hunt. The date
       17         on it is August 17, 1990.

       18                 What I'm arguing is that this document

       19          reflects, or matches up, rather, to the trial

       20         testimony that was elicited on direct examination

       21         that Mr. Murray had a violation of probation, and

       22         with the assistance of the State Attorney's Office,
       23         was released on that violation of probation.- This

       24         document, along with another one, will show that

       25         that was a felony violation of probation, which


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        1        would indicate that the State Attorney at the time
        2        knew that Mr. Murray did, in fact, have a felony
                 record.
        4              That's the eventual argument I'm getting to on
        5        this thing.
        6              MR. WHITE: I see. May I look, for a minute,
                 see what else you're going to introduce? Are you
                 going to introduce the judgment and conviction that
       9         deals with 88-3109?
      10               MR. GRUBER: Let me make sure. Some of these




•
      11         were pulled this morning. That was the one that
      12         came in yesterday.

      13               THE COURT: Came into evidence yesterday?
      14              MS. GAYLORD: That's correct, your Honor.
      15              MR. GRUBER: It's Defense Exhibit I.
      16              MR. WHITE: Can I see that? May I have just a
      17         moment to confer with my counsel over here?

      18              THE COURT: Sure.

      19              MR. WHITE: Your Honor, our posture is this,
      20         and I'll state it as simply as I can.
      21              THE COURT: Is that for my benefit?
      22              MR. WHITE: No, for the record. For the
      23         record, if we can go ahead and both agree the

      24         admissibility of exhibit I, which has only been

      25         marked for identification so far. I would have no



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                 objection to the admissibility of Defendant's
       2         Exhibit K. The two of them need to come in together
                 to address the issue that he's raised for Mr. Murray
       4         falsely saying that he was on --
       5               THE COURT: Misdemeanor. All right. Any
       6         objection to that?
       7               MR. GRUBER: None, in principle. I would hate
       8         to see these labels being pulled off.
       9               MR. WHITE: I'm not saying they have to be one
      10         exhibit, let's move I into evidence, as well --
      11               THE COURT: Then we would have numbers instead



•     12
      13
      14
      15
                 of letters.
                       MR. WHITE: You haven't moved it in yet. I
                 have no objection to K, as along as you have no
                 objection to I going in, as well.
      16               MR. GRUBER: Correct.
      17               THE COURT: Lets do it. Mark those as the next

      18         exhibits.
      19               (Whereupon, Defendant's Exhibits I and K were

     20          received in evidence as Defendant's Exhibits 7 and

     23.         8.)
     22                MR. GRUBER: What has been marked as Defense

     23          Exhibit L is an order of revocation of probation,

     24          case number 73-674, indicating that Mr. Murray was

l
ip 25            on probation for -- well, it actually indicates --


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              What it indicates, it is a certified copy. I will

              move it in as a self contained document.
                     THE COURT: Let me see it.
                     MR. WHITE: But let me see what it is. Judge,
              I'm not sure what the purpose of this is. I can't
              tell from this whether or not he was actually
              adjudicated guilty, therefore, I don't know that

              this is relevant.

                     THE COURT: Your objection is relevance?
                     MR. WHITE: My objection would be relevance, at
             this point.
                     THE COURT: What would be the relevance of
             that?

                     MR. GRUBER: The relevance of all of this is
             that ultimately, the jury knew only that Mr. Murray
             had a misdemeanor conviction, period.
                     THE COURT: You're back to his testimony about

             that?

                     MR. GRUBER: I'm back to that now. Whether
             that was --
                     THE COURT: Is that the same case number?
                     MR. GRUBER: I believe it's a different one.
                     MR. WHITE: Judge, I would also point out that
             may be a certified copy of a record. The question

             remains, because it isn't a true conviction with



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             fingerprints, and so forth. I don't think anyone
             ever established whether this is this Jerome Allen
             Murray, or not.
                  The other part of my objection was, I don't see
             where in there it indicates whether he was
             adjudicated.
                  THE COURT: He was. Well, it says, Probation
             revoked, the defendant is hereby ordered to serve
             five years DUR, consecutive to present sentence,
             which is the one in Attica. It doesn't say
             adjudicated, but it sentenced him to five years in
             prison, which you can't do unless you're
             adjudicated.
                  MR. WHITE: It would seem that you can't?
                  THE WITNESS: Unless you're in New York.
                  THE COURT: Well --
                  MR. WHITE: Never mind.
                  THE COURT: What happened is, the New York
             conviction was the violation.
                  MR. WHITE: I understand. I understand.
                  THE COURT: Your objection was relevance?
                  MR. WHITE: My -,. I'm sorry.
                  THE COURT: Authenticity to the extent we don't
             know whether that's the same Jerome Murray?
                  MR. WHITE: That's correct. It says Jerome


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       1         Murray, but typically, we need a certified copy of
       2         an order of revocation of probation. This is not a
       3         certified conviction.
       4                 The danger we run is that we're creating a
       5         record that it's the Jerome Murray who testified
       6         here.
       7                 THE COURT: I'll sustain the objection.
       8                 MR. GRUBER: Subject to that objection?
       9                 THE COURT: Yes, without prejudice to you.
                         MR. GRUBER: The next document I would move
                 into evidence is marked Defendant's Exhibit M. It is
                 styled a Judgment of Conviction and Imposition of
                 Sentence, the offense is aggravated assault under
                 Florida statutes, and the sentence is five years.
      15         It is dated --
      16                 THE COURT: Is that 73?
      17                 MR. GRUBER: This one is 77.

      18                 MS. GAYLORD: The case number is 73.
      19                 THE COURT: Is the case number 73?
      20                 MR. GRUBER: 73-674-CFA.
      21                 THE COURT: That's the same case.

      22                 MR. GRUBER: It is?

      23                 THE COURT: Yes.
      24                 MR. GRUBER: I'll be darned. This one has
4
0) 25            fingerprints.


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    1                THE COURT: That's the one that Mr. White was
    2        looking for.

    3                MR. WHITE: So to speak. This is, in fact, a

    4        certified copy of the conviction. The only
    5        remaining issue is, it this Jerome Allen Murray? Of
    6        course, I know the name here is Jerome Murray. I
    7        don't know if we can dig up this file on --
    8                THE COURT: Do we have Mr. Murray's date of

    9        birth anywhere?

                     MR. WHITE: I don't know. We can --

                     THE COURT: That might be an indicator.
                     MR. GRUBER: I do have a rap sheet. It lists
             two of them, 2/20 of '52, and 2/28 of '52.
                     THE COURT: 2/28/51, this one says here.

  15                 MR. GRUBER: That one has fingerprints, anyway.

  16                 THE COURT: There is no date of birth on that.

  17         The transport order, who knows where we got that

  18         from.

  19                 MR. WHITE: Judge, just for the record, after

  20         we began this post-conviction proceeding, I went and

  21         tried to do some research to verify just what we had

  22         in terms of criminal history. My concern was that I

  23         never found that conviction.

  24                 THE COURT: You never found that one?

  25                 MR. WHITE: I never found it.



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       1              THE COURT: That 73 dash whatever it was?
                      MR. WHITE: No, not that one. I found a '73
       3         case, but it had to do with a concealed firearm,
                 adjudication was withheld. I found an '81
       5         trespassing before, but it wouldn't be relevant to
                 impeachment.
       7               I found the '81 case dealing with the sexual
                 assault that Mr. Parker did raise. Then I found the
       9         case that we just talked about a minute ago where he
      10         ended up pleading to improper exhibition of a
      11         weapon, and attempted aggravated assault.

      12              That's all I'm aware of, and that's why I'm

41111 13         expressing my concern.
      14              MR. HOLMES: Do you have fingerprints with the

      15         sexual assault?
      16              MR. GRUBER: Yes.
      17 •            MR. HOLMES: They're the same, Judge.

      18              THE COURT: It's him?

      19              MR. HOLMES: I will not be an expert in it, but

      20         the State cannot impose an objection for what
      21         obviously are the same fingerprints on both

      22         documents.




•
      23              THE COURT: Okay, so we'll receive that. Are

      24         you offering the whole works, the revocation of

      25         probation?


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                        MR. GRUBER: Everything I talked about.
                        THE COURT: It has to do with that conviction?
                        MR. GRUBER: Yes, sir.
         4              THE COURT: So that would be received as the
        5         next Defense.Exhibit.
         6              (Whereupon, Defendant's Exhibit M was received
        7         into evidence as Defendant's Exhibits 10.)
        8               MR. GRUBER: Defendant's Exhibit 0 is a
        9         certified copy of a misdemeanor case, 88-13574,
       10         bearing a date of -- hold on a second. Well,
       11         whatever it is. I'm sorry, December 21, 1988. I
       12         was just reading it wrong. It's a retail theft.
el   13                 I would move this in as a self admitting
       14         document.
       15               THE COURT: On Mr. Murray?
       16              MR. GRUBER: Yes, sir, Allen Jerome Murray.
       17         It's a misdemeanor, so it doesn't have all the other
       18         accouchements (phonetic), and it doesn't have
       19         fingerprints attached to it.
       20              MR. WHITE: Judge, I guess we're back to the
       21         same issue that we had before, before he lent his
       22         expertise.
       23              THE COURT: You can't tell it's the same Mr.
       24         Murray?
                       MR. WHITE: I'm not sure. The name is the
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             same, so it's possible, but --
                  THE COURT: Does it say Jerome Murray?
                  MR. WHITE: When they wrote this, Mr. Holmes
   4         is presuming that this means Allen Jerome Murray.
             What it says is Allen Murray Jerome. I suppose the
   6         presumption is that the clerk's office writes it
   7        Murray, no comma, Allen Jerome. I hate to make that
   8         presumption. There's no date of birth, no

   9         fingerprints, and there may be       I think it's
 10          possible for him to authenticate it, perhaps, by
 11          getting the file.
 12               THE COURT: This isn't even a -- this is not a
 13         conviction. It's not even signed by the judge.
 14          I'll sustain the objection.
 15               MR. GRUBER: Okay. Finally, what has been
 16         marked Defendant's Exhibit P, is style, Pretrial
 17         Release Recommendations. It refers to Jerome Murray.
 18         More importantly, it has the case number
 19         88-3109-CFA, which I think is already in evidence.
 20               MR. WHITE: Can I look at it, and see what it
 21         is, unless I lost track, which is possible.
 22               I'll offer the objection that it's not a
 23         certified conviction it's another pretrial release
 24         recommendation. It contains hearsay statements.
 25         Therefore, I object on that basis, as well.


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   1               THE COURT: Okay.
   2              MR. GRUBER: I think'that's just part of the
             court file in 88-3109.

   4              THE COURT: I'll sustain the objection to that.

   5   BY MR. GRUBER:.
   6         Q.    I'll ask you a few questions about Mr. Green's prior
   7   violent felony aggravator, and the New York conviction. You
   8    know what I'm talking about, correct?

   9         A.   Oh, yeah.

  10         Q.   And this refers to documents contained in Appendix
  11   J, K, L and M, of the 3.850 motion. First of all, as a
  12   prosecutor, if you are proving up a defendant's prior
  13   conviction for whatever purpose, it might be habitual felony

  14   offender, or in this case, a capital case, a prior aggravator,

  15   a prior felony aggravator, what's the standard procedure?

  16         A.   I would seek certified copies of those convictions,

  17   and I would produce a certified copy for purposes of
  18   introduction of evidence.

  19         It's a plea, at sentencing, if he testifies, I would have

  20   them available to impeach him. At trial, I would disclose

  21   them to the defense attorney in advance so they could make

  22   their affirmative objection, not the same guy, otherwise, they

  23   would come in.
  24         Q.   That was not done in this case with regard to

  25   Crosley Green's purported New York robbery conviction, is that



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       1    true?
                    A.   My recollection is, they did not have a certified
            copy of conviction, they proved it up differently.
       4            Q.   You have reviewed the documents. You know, I said
            J, K, L and M. Those are correspondence between Mr. White and
            some New York authorities. There is a transcript of
       7   proceedings that occurred in New York, there's a citation of
       8   New York law in there, I believe a presentence investigation
       9   in this case is in there. Have you reviewed all those
      10   documents?
      11           A.    I'm familiar with them. I can't quote the language,
      12   but I'm familiar with them.

4111 13
      14
                    Q.

           right here.
                         Do I need to show them to you? I would have them


      15           A.    I don't think so. If I need them, I'll ask.
      16           Q.    They appear to reflect that Mr. Green did not have
      17   any criminal conviction emanating New York at all. Isn't that
      18   true?
      19           A.    Under New York law, it appears that's correct.
      20           Q.    It also appears that the prosecution, in this case,
      21   did know that throughout the sentencing proceedings, isn't
      22   that true?
      23           A.    I don't know that they knew it. I don't know that.
      24           Q.    Did you, yourself, make any efforts to verify that
4
110 25     New York conviction?


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       1         A.    Did I contact New York?
       2         Q.    Right.
       3         A.    I did not.
       4         Q.    Is there any particular reason for not doing that?
       5         A.    It was my opinion, at the time, based on the nature
       6    of the offense, my conversations with Crosley, where he
       7    admitted to me he did those acts. The fact that he went to
       8   prison, as opposed to some juvenile -- some alternative
       9    juvenile --
      10         Q•   Let me stop you there. Did he admit committing the
      11   crime, or did he admit going to prison?



•     12
      13
      14
      15
                 A.


                 Q.
                                i,4cOliebti6ii that      - talkéd about the actual


                      Do you recall, as apart of those documents that I
           mentioned in the report by the probation officer in New York,
      16   I think his name was Iverson, or something like that?
      17         A.   The name sounds familiar, but I don't recall looking
      18   at a document. I just don't recall.
      19         Q.   Reporting that he did not think that he did --
      20              MR. WHITE: Objection, your Honor, to hearsay
      21         from some fellow named Iverson in New York.
      22              THE COURT: Sustained.
      23   BY MR. GRUBER:
      24         Q.   Did any of the representations by the State have any
dip 25     affect on your decision whether or not to investigate the


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         1    status of the conviction any further?
                   A.    (No response.)

         3         Q.    Let me ask it more simply. Did you rely on the
         4    State's representations?

         5         A.    To some degree.
                   Q.    There was a presentence investigation prepared in
         7    this case, correct?
                   A.    I believe that's correct.

         9         Q.    Did you review that presentence investigation?

        10         A.    Yes.

        11         Q.    It does list an armed robbery conviction out of New
        12   York under the adult section. I don't believe there was

        13   anything under the juvenile section. You did not challenge

        14   that entry in the presentence investigation, is that true?

        15         A.    I did not.

        16         Q.   Was your understanding that there was a conviction,

        17   an adjudication for armed robbery out of New York, affect any

        18   decision, or advice that you may have given to Crosley with

        19   regard to whether he would testify at any stage during these

        20   proceedings?

        21         A.   You know, Mr. Gruber, I don't have a recollection of

        22   feeling that that in and of itself affected by decision about

        23   not putting him on. There were other matters that occurred

        24   that led me not to put Mr. Green on.

4   01 25          Q.   Are you saying it had no affect?



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             A.     No, I'm not, not at all. I'm saying that wasn't the
       major reason why I didn't put him on.
             Q.     It was a factor?
             A.     Yes.
             Q.     The evidentiary presentation by the State in the
       penalty phase of this case, the presentation of evidence by
       the State, that was entirely concerning this conviction, is
       that not true?
             A.     The entire evidentiary presentation by the State was
       concerning the prior conviction?
             Q.     The New York conviction?
             A.     Yes, sir.
             Q.     The State introduced no evidence during the penalty
       phase, other than what pertained to this New York conviction.
       Is that not true?
            A.      In the penalty phase?
            Q.      I'm not talking about argument, I'm talking about
       witnesses.
            A.      They called witnesses, Mr. Gruber. I'm sorry, I
       just don't understand what you're asking me.
            Q.      The witnesses called were Bob Rubin?
            A.      Yes, parole officer.
            Q.      He was the local parole officer?
            A.      That's correct.
            Q.      His testimony concerned a transfer, I think, some


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              sort of transfer of -- I'm not sure exactly what, but some
         2    sort of transfer from the State of New York, to the State of
              Florida.
         4         A.     Whatever transfer it was, it ended up in our parole
         5    division.
         6         Q.     What he said was that he helped Crosley register in
              the State of Florida as a convicted felon, so he could get an
         8    identification card?
         9         A.     Right.
        10         Q.     As it happened, Crosley needed some sort of
        11   identification card to get work, correct?
        12         A.     I presume so.
imp 13             Q.     The State also called an Officer Hopper, who was
        14   from New York, also?
        15         A.     That's correct.
        16         Q.     And he testified about what he knew, or what he had
        17   heard about this case in New York, correct?
        18         A.     I thought he was the arresting officer, but I may be
        19   wrong.
        20         Q.     Did you ever interpose a hearsay objection to any of
        21   that testimony?
        22         A.     I can't recall.
        23         Q.     Were you tipped off -- well, back then, did you know
        24   of the procedure that the State would ordinarily follow, in
l   ip 25    proving up a defendant's prior record?


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   1         A.      Yes.
   2         Q.      Did the fact that the State did not follow that
       procedure, in this case, suggest anything to you at the time?
   4         A.      Suggest that they didn't have a copy of a prior
   5    conviction for armed robbery, certified copy.
   6         Q.      Yes, sir, that's it. Did you think about that at
   7   the time?
             A.      Sure.
             Q.      Did that prompt you to investigate the matter any
  10    further?
             A.      Not any further than I did.
  12         Q   .   Did you ever ask them whether they had a certified
  13   copy of the judgment, and sentence?
  14         A.      I don't recall that. I don't recall.
  15         Q.      Obviously, they never provided you with one because
  16   they never had one.
  17         A.      That ' s correct. Well, they didn't provide me one.
  18   I presume they didn't have one.
  19         Q.      Do you have that attorney's fee affidavit there?
  20         A.      Yes.
  21         Q.      Going into the trial, were you fairly confident that
  22   the case would not result in a penalty phase?
  23         A.      Yes.
  24         Q. And your view about that changed during the course
  25   of the trial, isn't that true?


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   1         A.    Dramatically.

   2         Q.    You had about three weeks between conviction and a
        penalty phase, isn't that right?
   4         A.    That's correct.

             Q.    Did you request any additional time?
   6         A.    I did not.

   7         Q.    How much -- there was one point in the record, it's

   8    in Volume XII, page 2182, where you asked for a recess to talk

   9    to witnesses because they had not shown up for conference the
  10    day before. Do you recall that episode?
  11         A.    I don't recall that, no.

  12         Q.   As it was, you called two witnesses in the penalty

  13   phase, being Shirley Allen, and David Jones, correct?

  14         A.   That's correct.

  15         Q.   You had talked with Celestine Peterkin prior to the
  16   penalty phase. Is that correct?

  17         A.   That's correct.

  18         Q.   You did not call her as a witness?
  19         A.   I did not.

  20         Q.   Shirley testified about Crosley's father, that is

  21   Booker, shooting his mother, and then himself. You introduced

  22   that testimony?

  23         A.   Yes.

  24         Q.   And then David Jones was offered to testify that

  25   Crosley had saved him from drowning on occasion?



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             A.    That's correct.
   2         Q.    That was the extent of background mitigation that

    3   was presented during the penalty phase?
    4        A.    Yes, sir.

    5        Q.    I believe that was the extent presented during the

   6    penalty phase by you?
   7         A.    Yes, sir.

   8         Q.    Let me play a little. bit of a numbers game. I tried
   9    to count this out. If I'm right, the entirety of your
  10    evidentiary presentation, with regard to mitigation, consisted

  11    of about eight pages of transcript. Does that sound about

  12    right?

  13         A.    It was relatively short.

  14         Q.    So, it was less than an hour, in any event?

  15         A.    I guess I don't dispute that.

  16         Q.    The closing argument that.you offered runs from page

  17    2305, of the trial transcript, through 17. In other words,

  18    about 12 pages of transcript. It was actually longer than

  19    your penalty phase evidentiary presentation, if I calculated

  20    that right. Is that okay? .

  21         A.    Yes.

  22         Q.    During the closing argument, you touched on the two

  23    witnesses for the evidence that they offered, and moved on to

  24    other things?

  25         A.   Yes.


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       1        Q.   You did indicate that your attorney's fee
    2      affidavit -- well, the amount of time that you spent working
       3   on the penalty phase, I assume all the time indicated on here,
    4      at that point, obviously, would have been directed to the
           penalty phase only, right? So this would be a fairly accurate
    6 record of the amount of time that you did spend?
    7           A.   I may have -- there may be some things that I did
    8      that aren't on that particular affidavit regarding contacting
    9      certain witnesses, and what was told to me during the course
10         of those, and the time required to talk with them. I believe
11         I did list the number of people, and those that I called and
  12       talked with, I think that is on there.
  13            Q.   I believe so, too.
  14                 MR. WHITE: Objection, your Honor.
  15       BY MR. GRUBER:
  16            Q.    This is normally placed in the court file, this
  17       attorney fee affidavit, is it not?
  18            A.   I have to tell you, I don't know where it goes after
  19       I submit'it for payment.
  20            Q.   I know it's not part of the record on appeal. You
  21 have your copy in front of you?

  22            A.   Yes, sir.
  23            Q.   There are a number of names that are listed here,
  24       and I tried to find those who were identifiably background
  25 mitigation, potential witnesses, or at least sources of


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         1    information.
         2         A.    Yes, sir. What page are you on? Do you mind me
         3    asking, or does it matter?
         4         Q.    It starts at page 21, and goes through to -- well,
         5    to the next page. On September 27th of 1990, it starts with
         6    the court appearance, and the penalty phase, so basically, the
              bottom half of 21, over to the top half of 22.
         8         A.    I got you.
         9         Q.    You are speaking to someone who possibly could be a
        10   penalty phase witness. I really didn't see anybody on here,
        11    other than Celestine Peterkin.
        12              MR. WHITE: Objection to his testimony, your
                   Honor.
41110   13
        14               THE COURT: Sustained.
        15    BY MR. GRUBER:
        16         Q.   Who on here, as far as background mitigation, okay,
        17    is on here? What name is on here? Take a look at September
        18    10th. There is Daymon Jones.
        19               I talked with several people. I don't recall their
        20   names. I sat down with Crosley, and I asked him, All right,
        21   we're moving, into this phase. This is what you need to do.
        22   You need to tell me who can I go to. We need to dissect your

        23   background, in other words, and I need some folks that are
        24   going to say good things about you. He gave me some names,

l   ip 25    one of whom was a retired school teacher, a female, and a very


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       1   elderly one, of whom was, I believe, a coach at a local
           school.
                  I know that there was this person, I forget his name, you
           mentioned it earlier, that believes the defendant actually
           saved his life. There was Ms. Peterkin, who I wanted to
           testify about the way Crosley was with his child, and what he
       7   was as a brother.
       8          When I talked -- when I attempted to call Ms. Peterkin to
       9   the stand, she began laughing. I told her to calm down, she
           can't laugh in there, you have to stop laughing. She
           continued to laugh. She could not control the laughter.
           Whether it was a nervous laugh, I don't know what it was, I
           determined, at that point in time, Ms. Peterkin -- I was not
           going to call Ms. Peterkin.
      15          I then resolved to speak more with the coach, and the

      16   teacher. The teacher flat out refused to get involved, and

      17   the coach said, There is nothing good I can say about that
      18   boy.
      19          None of them would come forward and say anything good
      20   about Mr. Green. Those were the people that Mr. Green --

      21   those people whose names he gave me.

      22          I was left with Ms. Allen. I believe Ms. Allen took the




•
      23   stand and testified about the tragedy involving his parents.

      24   The judge found there was no weight to give to that, really,
      25   because the defendant was in prison at the time his parents


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           killed themselves.
       2         In essence, I couldn't find anybody that would say good
       3   things about Mr. Green.
       4         Q.   When you prepared this document, the attorney's fee
       5   affidavit, one thing, it's a pretty extensive and detailed
           document, is it not?
       7         A.   Yes, sir.
       8         Q.   And it's also the basis for your getting paid in
       9   this case, right?
      10         A.   Yes, sir.
      11         Q.   You certainly have a motivation to include



•     12
      13
      14
      15
           everything that you did, correct?
                 A.
                 Q.
                 A.
                      Yes, sir.
                      And to make it as accurate as possible?
                      Yes, to all of it.
      16         Q.   So let me go to page 21. You recorded a telephone
      17   conference with Daymon Jones, who was a witness that you did
      18   call, and indicated that that took point two hours, right?
      19         A.   Right.
      20         Q.   And then again on that date, you had an office

      21   conference, or interview, with C. Peterkin, regarding
      22   mitigating circumstances, and that lasted two hours, correct?
      23         A.   Right.
      24        Q.    Is there anything else on this page that would

o
r   25     clearly address the issue of -- well, let me restate that --


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       1    that would reflect your speaking to a potential background
       2    mitigation witness?
                 A.    I see a Fred Vickers, and I see an M. Fields.
       4         Q.    Is Fred Vickers one of the potential witnesses?
       5         A.    I can't recall. It's like I testified earlier, I
       6    can't recall the two people that I spoke with regarding the
            penalty phase, one of whom was a coach, one of whom was a
       8    teacher. I believe the M. Fields would have been the female
       9    teacher, a very elderly woman. Mr. Vickers, I'm thinking, was
      10-   the gentleman, the coach that I spoke to.
      11         Q.    Either of them point two hours a piece, correct?
      12         A.    They didn't want to talk to me. They told me, here
            is what it is, and hung up.
411, 13
      14         Q.    Anything fUrther on that page?
      15         A.    Nothing on that page. Do you want me to look over
      16    page 22?
      17         Q.    Yes, please. If you go down to September 26th, you
      18    indicated a consultation with the client, at jail, lasting one

      19    hour. That would be the day before the penalty phase.

      20    Anything else on that page?

      21         A.    No.
      22               MR. GRUBER: Let me have one quick moment.




•     23
      24
      25         Q.
                       THE COURT: Okay.
            BY MR. GRUBER:
                       In preparation for the penalty phase, what, if any


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        records, or documentation, did you obtain?
             A.    Did I obtain?
             Q.    Regarding Crosley Green's background.
             A.    I don't know. I don't recall.
                  MR. GRUBER: No further questions.
                  THE COURT: Okay. Mr. White,
             cross-examination?
                  MR. WHITE: Thank you, your Honor.
                                  CROSS EXAMINATION
       BY MR. WHITE:
             Q.   Let me ask you, with regard to your experience in
       capital cases, we spoke about a case on Wilbur Aaron Lam.
       Defense counsel asked you if that case was reversed. Do you
       remember why it was reversed?
             A.   The Supreme Court readdressed certain types of
       aggravators, I believe, and found that that aggravator would
       no longer apply. As a result, directed a resentencing,
       directed that resentencing, or resentencing hearing, I
       believe, to Judge Harris.
             Without that particular aggravator, it's my recollection,
       Mr. White, that in weighing process, the judge then imposed a
       life sentence.
             Q. We can check the opinion and make sure whether
       you're right, or wrong. Was there a resentencing?
             A.   Yes, there was.


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       1         Q.     Did you participate in that, as well?
       2         A.     Gosh, I don't know if I was with the office then.
           probably would have, if I was still with the office, but I
       4   left the office in May of '87. I don't know when he was
       5   resentenced. I just don't recall, Mr. White.
       6         One other thing on Mr. Lam, there was a co-defendant. In
       7   seeking the death penalty, we offered the co-defendant a 2nd
       8   Degree Murder plea, and I believe there was a substantial
       9   parity issue regarding -- or disparity issue regarding John's
      10   -- I keep wanting to say it Haskins, or Haskell. I forget
      11   what his name was, but it seemed to me that that carried great
      12   weight with Judge Harris. I may, indeed, have handled that
      13   resentencing.
      14         Q.     Do you have any recollection of Court TV being there
      15   because the sentencing of juveniles to death had become such a
      16   hot issue? Do you remember that?
      17        A.      Yes. In fact, I was in private practice at that
      18   time. I do recall that. I recall watching that. I believe
     19    Mr. Onek was the defense lawyer. You're right.
     20         Q.      You think you were in private practice when that all
     21    went down?
     22         A.      Yes, sir.
     23         Q.      Now, let's talk a little bit about, and let me show
     24    you this to make sure you know what I'm talking about.
l
ip 25      Exhibit J, which the defense produced.


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   1         A.      Three by five cards.

             Q.      Three by five cards. Now, these cards, if they are

        what Mr. Gruber says they are, would appear to be some sort of

    4   cards created at the time Kim Hallick was going through a

   5    bunch of photos. Is that your understanding?

    6        A.      It's my understanding that his inquiry regarded

        those cards and notes taken by law enforcement officers, as a

   8    result of conversations they had with her during that process.

    9        Q.      Now, you knew she had gone through, I think we

  10    referred to it as a box of photos?

  11         A.      Correct.

  12         Q.      Sixty-Something photos. Is that what was

  13    represented to you by Mr. Fair, and Mr. Nyquist?

  14         A.      It seems like it was 60, or so.

  15         Q.      So it wasn't news to you that she went through a

  16    bunch of photos?

  17         A.      No.

  18         Q.      In fact, you used that, and to the best you could,

  19    in a suppression hearing, didn't you?

  20         A.      I did.

  21         Q.- It wasn't news to you that she saw some photos that

  22    she thought looked similar to the man who had done this, isn't

  23    that true?

  24         A.      That's correct.

  25         Q.      That's not news to you that some of the photos were



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   1   picked out as being this man looks like him, or maybe has

   2   hair, or things like that?

   3         A.    Sure.

   4         Q.    So none of that is new. That appears to be what

   5   these refer to. In one of them it says, possibly look alike,

       photo pulled by victim. That's not new, is it?

   7         A.   No, in terms of whether or not Ms. Hallick --
   8         Q.   Today, it's not the fist time you knew Ms. Hallick

   9   pulled a p photo and said, Hey, that kind of looks like him?

  10         A.    I found that out during the discovery process.

  11         Q.   You did work to try and develop another suspect, or

  12   suspects that might have committed this offense, didn't you?

  13         A.   Yes.

  14         Q.   Did you try to persuade the umpire from Holder Park,

  15 I Mat maybe he had seen this Wilfred Mitchell that night?

  16         A.   I did inquire of that, and --

  17 ',111" Q.    So you tried, as best you could, to develop the

  18   possibility that there might be another suspect, someone who

  19   looks similar to him, might have been in the area, might have

  20   had the opportunity?

  21         A.   I tried to develop a suspect. I have to tell you

  22   that the way this person that allegedly perpetrated the crime

  23   looked, and was described by Ms. Hallick, in no way resembled

  24   the defendant by hair style. It didn't.

  25         In terms of developing any kind of suspect that may have



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    1   looked like the defendant, I found I was looking for people
    2   that wore their hair that way, particularly the ringlets in
        the hair at the time this particular crime occurred.
    4   Mr. Green had a buzz cut.

             Q.    I think I recall -- let me see if I can find it real
        quick. With regard to Deputy Walker --
7            A.    What?
    8        Q.    Wade Walker?
    9        A. , YeS.
10           Q.    Was that one of your concerns? I know we're

        reconstructing something you.don't have a direct recollection

  12    of, but do you recollect whether or not Walker had stated, in

  13    his depo, or report, that she had told him his hair was short?
  14         A.    No, I don't have a recollection of that.
  15        _Q.    If, in fact, he had recorded that, or had testified

  16 to that in his depo, would you have wanted to put Mr. Walker

  17 on the stand, and perhaps highlight that the very first person

  18    she talked to, she said, the hair was short?

  19         A.    I probably would not have wanted to put him on the
  20 stand to say that because all the evidence indicated -- all of
  21 her testimony subsequent to that time indicated it was long,

  22    and certainly, that helped my case, I thought.

  23         Q.    Well, it's all a question of developing a strategy,

  24    and trying to figure out what was best for your client, is

  25    that correct?



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                 A.    Yes.
                 Q.    You attempted to do that?
       3         A.    I did.
       4         Q.    You felt very strongly about this case back then?
                 A.    I did.
                 Q.    You felt like you could obtain an acquittal in that
       7    case, and that you.did everything you could to do so. Isn't
       8    that correct?
       9         A.   That was my intent.
     _10         Q.   Now, with regard to whether or not you deposed
      11   Sheila, let's start with Sheila. You indicated you spoke to



•     12
      13
      14
      15
           your client about it, Crosley Green. What was it he told you
           about whether or not you should deposed Sheila?
                 A.   He doesn't know. In fact, I believe it was pretty
           much his idea. I told him we can ask for a continuance, I
      16   could ask for an opportunity to speak with his sister. He
      17   didn't believe that's necessary. He believes she would fold
      18   in court, and we'should go forward and do a cold
      19   cross-examination of her. I said, Okay.
      20         Q.   From a strategic point of view, if you took the
      21   deposition, might you lock her into a posture? Now you have a
      22   sworn statement under oath from her, another one, and she's
      23   faced you, and she's taken this position. Was that a
      24   consideration?
41, 25           A.   Well, any time you do a deposition, that's a


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   1   consideration, you know, but it also lets them knOw where
   2   you're coming from. It also lets the State know where you're
       coming from, in terms of your inquiry.
             I didn't disagree with Mr. Green. In fact, I probably
       agreed with him that that might be the best way to approach
   6   his sister.
            Q.    Did he feel confident that in the end, she would not
   8   testify against him?
   9        A.    Yes.
 10         Q.    Did you have a sworn statement from her that had
 11    been taken by, I can't remember who, but I think, perhaps,
 12    Mr. Williams was present, her attorney was present, and
 13    membets from the US Attorney's Office?
 14         A.    I recall, yes.
 15         Q.    So you knew what she had committed to in terms of
 16    what she was going to say?
 17         A.    That's correct.
 18         Q.    Isn't the same true with Lonnie?
 19         A.    Yes.
 20         Q.    You had a statement from him?
 21         A.    That's correct.
 22         Q.    It was under oath, and you knew what he pretty much
 23    had to say, or else you were going to beat the dickens out of
 24    him, right?
 25         A.    I knew what the disclosed testimony was.


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            Q.    Again, it was a strategic decision whether or not
       you go ahead, take the deposition, perhaps commit him. Now,
      he's given one sworn statement. Is there a consideration that
      if he's going to go into court, that he's going to switch
      horses, and get on your team, that you might not want to set
      him up with possibly two perjury charges by making him go
      under oath, make him say what he's going to say?
            Who knew what he was going to say. Is he going to stick
      to the State's side at that point, and maybe commit perjury
      again? Do you want to put him to that, or not? Do all those
      things go through your head?
            A.    You know, probably, but I can tell you that because
      Sheila's child was Mr. Hillary's, and because_she was looking
      at a significant amount of prison in the Federal system, and
      because this statement of hers and his did not occur until
      after her conviction, to me, those were the primary
      motivations for me, in terms of cross-examination.
            Worried about Mr. Hillary's potential perjury, I don't
      think was something that I gave too much thought to.
            Q. If you hook him into another sworn statement prior
      to trial, do you make it more difficult for him to come into
      court, and deny what he said, if he's down twice under oath?

            A.   Sure.
            Q.    Do you belieVe that Lonnie's cooperation with the

      State hinged on Sheila?


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       1         A.   Yes.
                 Q.   Sheila was the issue, was she not?
                 A.   Yes.
       4         Q.   Crosley Green told you, when it got down to it, she
       5   wouldn't testify?
       6        A.    Yes.
       7         Q.   As to Jerome Murray, I just asked, you also had a
       8   statement from him, did you not?
       9        A.    I did.
     10         Q.    I believe it's entitled SAI of Jerome Murray?
     11         A.    Something like that. I don't recall, specifically.
     12         Q.    Which was a sworn statement he gave to me?
4110 13         A.    Yes.
     14         Q. Would you have a real recollection of how many
     15    peremptories you used?
     16         A.    I accept what Mr. Gruber told me as true. I don't
     17    have a clear recollection.
     18         Q.    Well --
     19         A.    As he asked, Mr. White, I know I did not use all of
     20    my peremptories.
     21         Q.    I'm going to show him a copy of the trial
     22    transcript, it's numbered page 364, up in the right-hand
     23    corner. Let me ask you to take a look at this page here, page
     24    364. See if you can determine from that, and refresh your
#   25     recollection as to whether or not, in fact, it was six


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       peremptories that you used.
   2        A.    It appears by this that I made at least nine

   3   peremptory challenges, without reading further.

   4        Q.    Okay, I think that may be it, but you had what, ten?

   5        A.    Capital, yes.
   6        Q.    It appears you used at least nine?

   7        A.    Yes.

   8        Q.    Let that not confuse you. I almost forgot something

   9   I wanted to ask you. Do you recall, in this case, if we had

 10    filled up the box with perspective jurors?

 11         A.    It's my recollection we did.
 12         Q.    So, however many we got up there, would you quarrel

 13    with me if I told you there were only 18 when we began?

 14         A.    I have no reason to doubt that.

 15         Q.    If we have that many folks up in the box, when we

 16    got down there towards the end, we were doing peremptories, do

 17    you know whether or not you knew who was going to come up

 18    next, if you struck Mr. Guiles?

 19         A.    Sure, I was very well aware of that.

 20         Q.    In fact, as you read here, did you get to the part

 21    where you started talking about alternates?

 22'        A.    I did not.

 23         Q.    On page 367, if you go down to line 18, I believe

 24    they started talking about that. Why don't you read that

 25    transcript so it refreshes your recollection a little bit.



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            A.    How far do you want me to go Mr. White?

            Q.    As far as you need to, to determine whether or not
       there were folks up in the box to become the 12th juror, if
       you excused Mr. Guiles.
            A.    Okay.
            Q.    While you're looking, see if you objected to any of
      the prospective alternates that came up.
            A.   What I'm gleaning from this is the judge asked those
      who we had requested peremptory strikes for, to step away, and
      then we started discussing whether or not -- I may be wrong,
      Mr. White, whether or not any of those we struck peremptorily
      were accepted as alternates.
            Q.   Can you see where we discussed whether or not people
      who were not struck, but who had come up for the rotation for
      alternates, were there any folks who left, that had become
      alternates?
            A.   I'm sorry, if they're there, if it's there, I missed
      it.

                 That's fine.
            A.   Wait a minute, I'm sorry. Yes, he's talking -- oh
      yeah, here we go. The jury was sworn. He is talking to the
      jury about it's difficult to sit through, even though you're
      not in the jury box. It's more interesting when you're up in
      the jury box, and you're being inquired.
            When we pick smaller juries, we don't need to take as


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   1   much time. He's thanking those in the venire who did not get

   2   chosen, who were in the venire, and called into the box.
   3         Q.   I know you're not meaning to be nonresponsive.
   4   You're looking through to see if you might find it. May I

   5   look at the exhibit, maybe, if it's there, I can find it.

   6        A.    Okay.

   7        Q.    Let's move on. The record will resolve that. With

   8   regard to the issue of Mr. Guiles, do you recall the testimony

   9   that, I guess, it's his testimony that he gave at the actual

  10   proceeding regarding his niece?

  11        A.    I recall it because it's written down in the

  12   transcript.

  13        Q.    Have you read it recently?

  14        A.    Yes. Well, I read excerpts from it.

  15        Q.    Okay. You remember?

  16        A.    That was marked. I just marked it.

  17              Okay. So you have offered your opinion that you

  18   believe that you should have moved to excuse him for cause

  19   based on what he said about having a niece that had been

 20    murdered three years ago, in Naples. Is that correct?

 21         A.    If I was going to make a for cause objection of

 22    Mr. Guiles, and I only made it because of pretrial publicity,

 23    then I should have also made the objection based on the

 24    homicide involving his niece. That's all I was saying.

 25         Q.    Got you. Let's talk a little bit about venue,



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            motion for change of venue. I think you were discussing the
            issue, you thought this case was moved to Melbourne, and you
        3   thought that, in fact, the venire was pulled from Melbourne.
                  A.    I believe that's correct.
        5         Q.   Now, in order to obtain a change of venue, wouldn't
        6   you be required to convince the court that there had been so
        7   much adverse publicity, that you could not seek a fair
        8   impartial jury?
        9         A.   That's correct.
       10         Q.   I suppose another way to do it would be to try and
       11   show that the community was in such an outrage, that you
       12   couldn't seek a fair and impartial jury?
       13         A.   That's correct.
       14         Q.   When you moved to Melbourne, that took care of the
       15   minority issue, because Melbourne and Titusville are 40 miles
       16   apart, in separate communities, aren't they?
       17         A.   Yes.
       18         Q.   The only reason you'd move for a change of venue is
       19   that you could argue that there had been so much publicity,
       20   you couldn't get a fair jury.
       21         A.   Either that, or if the jurors began explaining, or
       22   expressing concerns about the publicity, and things of that
       23   nature. That wasn't the case, as I recall.
       24         Q.   In fact, there were very few jurors who had read, or
40   25     heard anything about the case.


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                 A.   That's correct,
                 Q.   Do you remember whether or not, in fact, as you
           suspect, these jurors were selected from the south end of the
           county?
                 A.   You know, I'm thinking it was a regional selection
       6   in the county, and I would like to say that yes, that's what I
       7   believe ; but I can't remember.
       8         Q.   Let me ask you if it might refresh your recollection
       9   from page 145 and 146, and perhaps 147 of this transcript,
      10   from the trial. It starts down here towards the bottom,
      11   probably about line 17.
     12         A.    Okay   .




0 13             Q.   What does that seem to reflect?
     14         A.    It reflects that you inquired of each individual
     15    juror as to where they actually lived, and all of them lived
     16    in Melbourne, Melbourne Beach, or cities south.
     17         Q.    Which would seem to comport with the belief that the
     18    venire was from the south end only?
     19         A.    Yes.
     20         Q.    Have you reviewed the transcript, with regard to
     21    Mr. Karns, or Karn, whichever it is, your alibi witness?
     22         A.    Which one, the trial?
     23         Q.    I'm sorry, the transcript of the trial.
     24         A.    I have not.
*   25          Q.    So your testimony about how you believe his


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           testimony kind of broke down on you during the course of the
           trial is based on your recollection of some 13 years ago?
                 A.    Yes.
                 Q.    Would you be willing to abide by whatever the record

           shows, if it may differ from your recollection, in some

       6   respect?

       7        A.     Absolutely. Whatever the record says is what
       8   happened.
       9         Q.    The key thing was, based on your review,

      10   Ms. Brothers could corroborate that Green was there, and about




•
      11   at different times?

      12        A.     Yes.
      13        Q.     But the problem was, you had to try and show that he
      14   was there at a fairly specific time, didn't you?

      15        A.     That's correct.

      16        Q.     Because the place that they were, which was in, I

      17   guess, what we might call the projects, up in Mims?

      18        A.     I think it was government housing, yeah.
      19        Q.     Is really about a mile from the grove where the

     20    shooting took place in this case, isn't that right?

     21         A.     I believe that's correct, and about, maybe, a little

     22    longer to Holder Park. It was relatively close,

     23    geographically.

     24         Q.     Correct, you're right. Holder Park would have been
     25    from there, to the best of your recollection, probably, west a



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       1   couple miles?
       2           A.   Yes, west, and I think it was around three miles.
       3           Q.   So the alibi is an attempt to alibi him from being
           able to be at a place that's pretty_darn close?
                   A.   No question, it was. The times were tight.
       6           Q.   If Mr. Karns could not tie that down for you
       7   tightly, then you had the possibility that he might have been
       8   over there, might have left, done the crime, come back, fallen
      9    back again?
     10            A.   That's correct.
     11            Q.   In fact, that's what my recollection, I think that's



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     13
     14
     15
           what the State portrayed is that's when it, in fact, happened.
                   A.
                   Q.
                        Okay.
                        But Ms. Brothers couldn't help you with any Definity
           about the time line, could she?
     16            A.   No.
     17            Q.   Only Mr. Karns could seem to be definite?
     18            A.   Yes.
     19            Q.   Did you have knowledge that Mr. Green said he had
     20    also been around other people that night, at different times,
     21    like Aretha Griffin, or Lori Rains, any of those names?
     22            A.   I remember Ms. Rains.
     23            Q.   Did you attempt to develop her as a witness, as
     24    well?
4
.   25             A.   Oh, yes.


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   1          Q.    Let's talk about the flight issue. If I heard
  2    right, you were testifying about Deputy Copenhaver supposedly
       having gone to this government housing where Carlene Brothers
  4    lived the morning after the murder. Is that right?
  5           A.    That's my recollection at this time.
  6           Q.    Well, isn't it true that Mr. Green did not become
       the suspect in this case for a day or two after that. Isn't
  8    that true?
  9           A.    Whenever it was, Mr. Curtis stepped forward and
 10    said, That looks like Crosley Green. Whenever that occurred,
 11    I think that's when everybody focused on Mr. Green, if I'm not
 12    -- I think that's what happened.
 13           Q.    Perhaps it would tie into when Kim Hallick actually
 14    made an identification of Mr. Green?
 15           A.    Right.
 16           Q.    Whenever that occurred?
 17           A.    Okay.
 18           Q.    There is a period of time, frankly, when the police
 19    did not know who their suspect was, wasn't it?
 20           A.    It was a period of time until Ms. Hallick identified
 21    him.
 22           Q.    During that period of time, frankly, the police were
 23    not looking for Crosley Green, were they?
 24           A.    You know, I don't know the answer to that, Mr.
 25    White, only because I believe Mr. Curtis, by his telling the


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       1   police that this is the person that's in that lineup, I don't
           know that the police, at the same time they were trying to .
           find a photo of him, weren't looking for him at the same time.
       4   I just don't know that.
       5           Q.   Well, let's put it this way. Let's look at it
       6   differently. Until such time the news broke that Crosley
       7   Green was a suspect, Crosley Green had no way of knowing he
       8   was a suspect, to your knowledge, did he?
       9           A.   Not from publication, not from that.
     10            Q.   So if he's in the community, as far as he knows,
     11    until it hits the paper, and certainly until the police
     12    develop him as a suspect, he would have no reason to think
ei 13      that the police were hot after him, would he?
     14            A.   That's my -- I agree with that.

     15            Q.   There was such a period, however long it might have

     16    been?
     17            A.   You're correct.
     18            Q.   But it probably was in existence the very morning
     19    after the murder, wasn't it?

     20            A.   I'm sorry, it probably wasn't?

     21            Q.   It was. It was probably a state of affairs the

     22    morning after the murder.
     23            A.   I'm sorry, maybe I'm missing you, but.
     24            Q.   That's okay, let me try and restate it. As of the

#   25     time that Mr. Copenhaver went over to Ms. Brothers', that


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   1   would have been within eight hours, ten hours of the murder,
   2   correct?
   3           A.   Yes.
   4           Q.   As of that time, to your knowledge, had Kim Hallick,
   5   Tim Curtis, or anybody else, point out Crosley Green as being
   6   the suspect in this case?
  7            A.   I don't believe so.
   8           Q.   Until such time as that happens, Mr. Green was not
  9    being searched for, specifically him, by the police, was he?
 10            A.   I presume not.
 11            Q.   Mr. Green indicated to us that he told you that he
 12    did leave the area.
 13            A.   Yes.
 14            Q.   What did he tell you about what he had done within
 15    the days following the murder, do you remember?
 16            A.   Yeah, he said he went and worked as a fruit picker
 17    for a harvester. I can't recall whether it was US1, up along

 18    US1, or whether it was 95, but he traveled up that way, and
 19    worked his way, and I believe he said        I think he said he
 20    went to Daytona Beach, stayed there for a while, and then came
 21    back.
 22            Q.   Do you have any recollection as to how soon after

 23    the murder he said he left?

 24            A.   I don't have a specific date or time in mind. I

 25    can't recall. It was close to that time.


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   1         Q.   Okay. Did you ever discuss with him whether or not

   2   he knew, in fact, he was a suspect, and the police were

       looking for him in that murder?
   4         A.   I did.

   5         Q.   What did he say?

   6         A.   He said he was working as a migrant worker up the

   7   coast, and didn't realize it. I can't recall whether he

   8   turned himself in, or whether he was picked up, approxiMately,

   9   a month later, I believe. I'm not sure.

             Q.   It's been so long ago, I hate to offer my
       recollection. We'll just leave it that you're not sure.

             A.   Okay.

             Q.   Well, that would tend to indicate, then, that he

       left before it hit the headlines that Crosley Green is wanted

  15   in the murder of Charles Flynn.

  16         A.   It was after. It's my recollection, he left after

  17   Mr. Flynn's death, and before it was public knowledge.

  18         Q.   That he was the suspect?

  19        A.    That's correct.

  20         Q.   At least, that's what he told you. He didn't know

  21   it, none of his family, none of his friends told him, didn't

  22   see it in the papers, didn't see it on TV, he just decided it

  23   was time to leave and pick fruit up there in Bennell for a

  24   while?

  25        A.    Yeah.



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                     Q.   There was a question about whether or not you ever
        2    got the Criminal Justice Institute records, earlier, remember
             that?
        4            A.   Oh, yeah.
        5            Q.   Now, having had some time to sort through all of
         6   this, would you agree that there were, perhaps, two sets of
        7    records in this case, and that one set were records that were
        8    created by Odell Keiser when he did local training with his
        9    dog, and another set were records created at the CJI, when he
       10    and the dog were trained together, initially, and perhaps
       11    later for recertification?
       12            A.   Now that you say that, it seems to me that I did

III, 13      review records, and had records of Mr. Keiser's initial work
       14    with the dog, initially, and I believe I recollect that, you
       15    know --
       16            Q.   Well, maybe this will -- did you go down to, I think
       17    it was West Palm? Did you depose Bob Cook, with CJI?

       18            A.   YeS.
       19            Q.   Was he, in fact, the man who trained Odell Keiser
       20    and his dog, together?
       21            A.   I believe so.
       22            Q.   I was thinking a minute ago, do you recall, is Odell

       23    Keiser --
       24         A.      Pretty much summed it up, right there.

410   25             Q.   Is Mr. Keiser quite southern in his speech?


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                   A.    Yes.
         2         Q.    Do you recall him expressing to you the problems

              this German dog had understanding him?
         4         A.   As I recall, there was some problems with the
         5    initial training of the dog in German, and now they had to

              deal with him.

                   Q.    In terms of preparing to meet that, did you examine

         8    the reports and photographs, and everything that you could
         9    find that was available, as to how the dog tracking was

        10   done --
        11         A.   Yes.




•       12

        13

        14

        15
                   Q.
                   A.

                   Q.
                   A.
                         -- in that particular case?
                         Yes.
                         Did you prepare a strategy for attacking?
                         I did.

        16         Q.    Did it have to do, to some degree, with the fact

        17   that Odell Keiser, in his report, said the dog stopped

        18   tracking --

        19         A.    In the intersection.

        20         0.   Well, let me see.

        21         A.   I recall that because when I reviewed the

        22   transcript -- I believe you're getting ready to show me the

        23   judge's participation.

        24         Q.   Well, let's see, on page 1344, beginning at line 3,

        25   I think that is.

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         1                "Question: Do you also recall saying in your
         2         statement, and then you quote, "Does this say here
         3        Czar then turned West on Briar Cliff Way, Czar
         4         continued to track to near the intersection of Briar

         5         Cliff and Belvadere, where he stopped tracking?
         6        A.      That's correct.
         7        Q.      That's the real language, not the middle of the
         8   intersection, not in the intersection, but near the
         9   intersection. That's what you impeached him with was his
       10    report, right?




•
        11        A.      Right.
       12         Q.      The judge went ahead and asked him -- what did the
       13    judge ask.
       14         A.      He said, Is that what your notes say?

       15         He said, No, that's not what my notes say.
       16         Q.      Okay. That's on the next page. He pulled them out

       17    of his back pocket, says that he stops at the intersection,
       18    correct?
       19         A.      Okay.

       20         Q.      So he was testifying at trial that, in fact, the dog

       21    went into the yard of Celestine Peterkin?

       22         A.      That's correct.
       23         Q.      Did you bring forth the idea that there were some

       24    dogs barking up there?

l   ip 25         A.      Yes.


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       1         Q.   They may have distracted this dog?
       2         A.   Yes.
       3         Q.   Maybe his dog would have continued tracking on down

       4    the road, but for the fact that a dog drew him up there?

       5         A.    I did.

       6         Q.   You did all that, right?
       7         A.    I did.
       8         Q.   There was a question of you regarding whether or not
       9    this New York youthful adjudication, which, first of all, at

      10    the time that occurred, what's your understanding as to how

      13.   old Crosley Green was, or more specifically, was he a juvenile



•     12

      13
      14
      15
            at the time that he committed that offense?
                 A.   He was of majority, according to Florida law, which
            was 18 or 19 at the time.
                 Q.   Did Mr. Green ever tell you anything about this

      16    being some sort of a possible juvenile conviction, or even

      17    that it was a youthful offender conviction?
      18         A.   Youthful offender, I'm not sure, Mr. White, but we

      19    never -- I was never advised that it was handled in our type

      20    of juvenile court, or in juvenile court.

      21         Q.   And at the time that you were considering all of

      22    this, were you aware that the law in Florida seemed to

      23    indicate that if it had been a juvenile adjudication of

      24    delinquency, it still could have been used to prove up this

      25    aggravator?


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                    A.   I was aware.
           2             MR. GRUBER: I'll object to that being offered
                    to the truth of the status of the law.
           4             THE COURT: Sustained. The law is the way of
           5        the law. This Court determines, the law issues,
           6        correct? You're asking him what his mental
           7        impression is?
           8             MR. WHITE: I asked him --

           9             THE COURT: You're not saying that's what the

          10        law was. The law is for the Court.

          11             MR. WHITE: I understand. I think what I asked
          12        him was, is it his recollection that at the time the
III   ,   13        law seemed to be in Florida, that a juvenile
          14        adjudication delinquency could be used to prove up.
          15             THE COURT: In other words, if that's what he

          16        thought it was.

          17             THE WITNESS: That's what I thought.
          18             THE COURT: You thought that's what it was?

          19             THE WITNESS: Yes.

          20   BY MR. WHITE:

          21        Q.   So, if a juvenile adjudication of delinquency could

          22   be used, would a youthful offender adjudication, for which

          23   your client, he was 18 at the time, got a four-year sentence

          24   to prison, is there anything about that that would raise red

4   01 25      flags, and make you think that this can't be used to prove



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   1    that my client has committed a prior felony?

   2         A.    Not now, and even looking back at the Statute, I

   3    would have felt that New York cant dictate to Florida how

   4    that prior conviction, or withheld adjudication, whatever it

   5    was, how that could be used. I'm still not sure I agree that

   6    Florida couldn't treat it the way I thought it would be

   7    treated, but.

   8         Q.    All right.
   9         A.    As I recall the Statute, it says, This cannot be

  10    treated -- this will be treated as a -- this will be, for

  11   purposes of certain times, certain types of jobs, and

  12   participation in government in the State of New York, this

  13   particular, under this Statute, will not be treated as an

  14    adjudication.

  15         To me, that means within the confines of the New York

  16    Statute for those specific purposes, it will not be treated as

  17   an adjudication. Now, in Florida, for purposes of penalty

  18   phase, I still -- my first impression would be, it's going to

  19   count.

  20         Q.   Now, let's talk for a minute about that conviction,

  21   okay? First of all, do you understand the law to be, and to

  22   have been at that time, that if I, the prosecutor, could have

  23   used that conviction to impeach him during the guilt phase, if

  24   he took the stand, that I could not have brought forth that it

  25   was a robbery unless he denied the conviction, and I have got


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   1    to do that in order to try and refresh his recollection, or in
   2    order to prove it up, I actually introduced the conviction?
   3         A.     Right.
   4         Q.     So, if he were going to be impeached, it would be
   5    only by the fact that he's been convicted of prior felony.
   6    had other prior felonies, didn't he?
             A.     There was the prior cocaine possession, and I
   8    believe I was aware of an indictment for either sale of
   9    heroine, or not, but the State could not properly prove up the
  10    identity of the person in that indictment.
  11         Q.     But there was at least one Florida conviction,
  12    because you were aware he had just gotten out of prison for
  13    that one?
  14         A.     Yes.
  15'        Q.     So if anything, you were considering whether or not
  16    having a second felony conviction, as opposed to just one, was
  17    really going to make it unfeasible to put him on the stand.
  18         A.     Certainly, that was a consideration. I didn't want
  19    to expose him to that.
 20          Q.     Was the bigger issue what he had told you about what
 21     he had been doing that night?
 22          A.     Yes.
 23          Q.     What had he told you he had been doing that night?

 24         A.      As I debriefed him about what our defense could be,
 25     he said that he had been at Lori Rains' house. He said he was


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   1 at Lori Rains' house during the course of the night and

       evening.
             Of course, Lori Rains lives in the same general area as
   4 these orange groves were located. He said that he and Lori
   5 were having a sexual relationship, that her husband was not
   6 there, and that they were selling cocaine out of her house.
   7         I said, Well, okay. That's against the law, but it sure
   8 beats the heck out of being convicted of homicide. Let's get
   9 our times firmed up.
 10          I tried to do that, and he said, Listen, you know, we
 11 were smoking crack, doing crack. I would fall asleep. I
 12    can't tell you the times. I can't be specific. .1 just don't
 13 know. And so there was no way that I was going to try and
 14    utilize that as an alibi.
 15          I could see him testifying, Well, I was cracked out of my
 16 mind. I don't remember, really, what happened, but you talk
 17    to Lori.
 18         Well, I tried to talk to Lori, couldn't find her. She
 19    wouldn't do anything, she wouldn't come. I couldn't get in
 20 her house. I don't know how many times we went to her house.
 21    Crosley reported to me, Well, you know, she doesn't want her
 22 husband to know I was sleeping with her.

 23         So I never was able to get in touch with her such that

 24    she would testify regarding that particular explanation of

 25    events.


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      1          Q.   Okay. Now, with regard to mitigation, I know this
      2   is in your affidavit, there is a couple of entries about
      3   contacting Dr. Greenblum, reviewing things with him on the
      4   telephone, bills, etcetera. What role did Dr. Greenblum have
          in this?
                 A.   I sought to have Dr. Greenblum evaluate Mr. Green in
      7   attempt to determine there was any mitigation that I might
      8   find is useable in the penalty phase.
      9          Q.   Did you, in fact, call Dr. Greenblum?
     10          A.   I did.
     11          Q.   I don't mean on the phone. You did call him on the
 .   12   phone, right?
     13          A.   I did not call Dr. Greenblum.
     14          Q.   At trial, as a witness, is what I meant. That's my
     15   fault. Why not?
     16          A.   Because through our discussions, he was diagnosed as
     17   a sociopath. He had no remorse for this particular event, and
     18   that that would come out. I didn't want that to come out. I
,19       didn't find that as a mitigator. I understand that now it
     20   might be, but I didn't want that to come out, so I didn't call
     21   him.
     22          Q.   Do you recollect whether he did offer you anything
     23   else that you thought might be mitigating? Did he offer you
     24   an opinion, himself, as to whether or not he thought he could
     25   help you?


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       1         A.   Yes, he said there is nothing he can tell me.
       2         Q.   That would be of assistance?
       3         A.   Right.
       4              MR. WHITE: One moment.
       5              THE COURT: Yes, sir.
       6   BY MR. WHITE:
       7         Q.   I know it's been a long time since this case
       8   happened, so if you don't remember, you don't remember. But
       9   do you recall -- first, let me focus you. Do you recall what
      10   physical evidence was in this case, if any?
      11         A.   Uh-huh.
     12          Q.   Do you recall that the crime scene folks did a
0    13    vacuuming, or sweeping of the victim's truck?
     14          A.   Yes.
     15          Q.   I'm trying to remember this, too, so if you
     16    disagree, let me know. In that vacuuming, do you recall there
     17    were two Negroid hairs found?
     18          A.   I did.
     19          Q.   Did you ever discuss that with Mr. Green?
     20          A.   I did.
     21          Q.   Did you discuss it in the context of should we maybe

     22    see if we can get these tested for DNA?
     23          A.   I did.
     24          Q.   What did Mr. Green tell you?

40 25                 MR. GRUBER: I'm going to object. It's outside


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             1        of the pleadings entirely. I know where it's going.
             2        It's completely outside of any of the issues in
             3        these proceedings.
             4             THE COURT: Overruled.
             5             THE WITNESS: I told him that DNA technology
             6        was newly forming. I'm not sure whether it met the
             7        Fry standard at the time. I didn't talk to him
             8        about that, but it was new. They did have these
             9        Negroid hairs, and because his fingerprints, because
            10        there were unknown fingerprints on the car, not his,
            11        would he like me to send these particular -- we
            12        might need to send these hairs off to say that if,
41111 13              indeed, mitochondrial was working, we would some way
            14        know it's not his. I inquired him, does he want me
            15        to do that, and he said, no.
            16   BY MR. WHITE:
            17        Q.   All right, you did not seek to have that done?
            18        A.   I did not.
        -   19        Q.   Did you involve Mr. Green, throughout the course of
            20   your preparation, and throughout the trial, involve him in the
            21   decisions that you were making, and get his input?
            22        A.   Absolutely.
            23        Q.   During the course, for instance, of jury selection,
            24   did you and he discuss the prospective jurors? Did you take
41   111 25      into account how he felt about the prospective jurors?


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       1         A.   Absolutely.
       2              MR. WHITE: No further questions, your Honor.
                       THE COURT: Okay. Mr. Gruber, redirect?
       4              MR. GRUBER: Yes.
       5                            REDIRECT EXAMINATION
       6    BY MR. GRUBER:
       7         Q.   Was Lori Rains' place, where she was living, across
       8    the street from Carlene Brothers, as you recall?
       9         A.   That's not my -- I don't recall that. That's -- I
      10    don't think that's correct.
      11         Q.   Do you recall if they were very, very close?
      12         A.   I believe they were all geographically very close.
41111 13         Q.   In other words, it would be a minute walk, or
      14-   something of that sort?
      15         A.   Yeah.
      16         Q.   Do you recall the last page of Dr. Greenblum's
      17    report?
      18         A.   No, I don't.
      19         Q.   Do you recall if it says anything about hoping that
      20    the court would take into account the circumstances of Crosley
      21    Green's life, in mitigation?
      22         A.   Yes.
      23         Q.   Did it say something to that effect?

      24         A.   I think so.
      25         Q.   You referred to some discussions that you had with


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   1   Crosley during the course of your representation. Do you have

   2   any log, notes, contemporaneous record, of what those
   3   discussions were?
   4         A.     Do I have them, no, I don't have those.
   5         Q.     Do you believe they were destroyed along with the
   6   other parts of the file that were destroyed?
   7         A.     I do.
   8                MR. GRUBER: That's all, thank you.
   9                THE COURT: Thank you, Mr. Parker.
  10                MR. GRUBER: I'm sorry.
  11   BY MR. GRUBER:
  12         Q.     Did you know anything about Sheila being on suicide

  13   watch?
  14         A.     I did not. At no time did I ever have any
  15   indication she was on suicide watch.
  16         Q.     Aside from the statements that you got from the
  17   witnesses, in particular Lonnie and Sheila, aside from those

  18   statements, those records of -- I'm trying to remember what

  19   they were. Well, the recorded statements they gave to the

  20   State authorities at one time or another, did you have any

  21   other documentation with regard to those witnesses, at all?

  22            .   No.
  23                MR. GRUBER: Okay, that's all.

  24                THE COURT: Okay, thank you, Mr. Parker. Is

  25         that-it for witnesses?


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                     MR. GRUBER: That's all we have, your Honor.
                     MR. WHITE: Judge, I'm sure the Court may
   3         recall, but we had agreed, basically, that if we had
   4         a rebuttal to this, we weren't going to present it

   5         today. I don't know how we're going to go from

   6         here.
   7                 THE COURT: Let's figure that out.
   8                 MR. WHITE: They're the moving party. I don't

   9         know if they have additional witnesses that they

  10         need to call. I think they do, as to their other

  11         claims. They may or may not have been included in
  12         the testimony we have heard so far.
  13                 And then, of course, the issue is, the State

  14         would have some rebuttal to, I believe, some of
  15         those things that we want to present. We need to

  16         figure out --
  17                 THE COURT: Mr. Gruber, we're trying to get it

  18         done by the end of the year, as I recall. We need

  19         another -- are there more witnesses you have got to

  20         call?
  21                 MR. GRUBER: Yes. I realized this topic would

  22         come up. I don't have a really well thought out

  23         answer. Does the Court have any idea?

  24                 THE. COURT: An eighty percent answer would be

  25         all right. Do we need another two days of time,


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         1         would you say?
         2              MR. GRUBER: I know for a fact the mitigation
                   we would present would easily cover a day, if not
         4         more, and that's in and of itself. We have, I would
         5         really think, about four days, allowing for some
         6         sort of cross-examination. Probably, let me say
         7         four or five days for us to present our case.
         8              THE COURT: Another four or five days?
         9              MR. GRUBER: Yes. I have a feeling I'm cutting
        10         it short.
        11              THE COURT: That's going to be hard to get in



•       12
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                   between now, and the end of the year. Does it work
                   to do it two days at a time? Does that work for
                   you, or would you prefer to have a straight block?
                        The reason I say that, how much time do we need

        16         to get ready? I-have a trial docket, January 19th.

        17         It's a nine day docket, civil trial docket. It

        18         doesn't have many cases. It's got two big cases. I

        19         didn't load it.
        20              Chances are awfully good that those cases will

        21         probably settle. I may have a lot of time during

        22         that period of time to do that. It might be a

        23         possibility that we can give you four days, or

        24         something like that, maybe even five in that block

l   ip 25          of time.


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       1              MR. GRUBER: If we're going to do it, I'll tell
       2         you, I personally like doing it in stages, and I
       3         suspect the State does too, because it's a little
       4         bit easier on the lawyers.
                      THE COURT: That's true. So you prefer, like,
       6         to have a two-day block type thing?
                      MR. GRUBER: I'm not pushing for that so much.
       8         If the Court does have a -- basically, a week block
       9         available, then do that. But what you haven't said
      10         is when that's coming up.
      11              THE COURT: It's January 19th.
      12              MR. GRUBER: Okay,

firb 13               THE COURT: It's that week. I think the 19th

      14         is a holiday. I've got nine days. I may be wrong.
      15         I'm not wrong about the date, but the trials may go,
      16         too. If it does, then I'm done.
      17              MR. WHITE: I hate to be the bearer of bad
      18         tidings, of course you can make the bad tidings my

      19         own, but I have scheduled to go for a week long

      20         cruise, starting the week of January 17th.

      21              THE COURT: That counts. It's too hard to get

      22         vacation.
      23              MR. HOLMES: We're trying to.

      24              MR. WHITE: Just ignore him.

 p 25                 THE COURT: That's one thing I know, it's hard


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                 for everybody to get time to take off. That's
       2         important. I guess what I'm saying is, would you
       3         prefer to do it like we did this time, have a couple
       4         of days? It's probably easier for me to schedule.
       5         I can go -- because I usually go two hearing days,
       6         three trial days, is what my schedule is. You know,
       7         two hearing days, and three non-jury trial days. I
       8         probably could accommodate you in there somehow,
       9         just to get it done.

      10              Which would you prefer? I'll try to

      11         accommodate you, all of you, really.



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                      MR. GRUBER: Simply put, my client would like
                 to do it all in a block.
                      THE COURT: Let me work on doing that.
                      MR. GRUBER: However, if not, if there are a

      16         couple of days that become available, we're ready to
      17         do that, too.
      18              THE COURT: Let me get with her. So we have

      19         got some legal arguments to make, we have rebuttal

      20         by the State, we have a lot of things.

      21              MR. GRUBER: The only thing --

      22              THE COURT: Your experts will be in the area of

      23         what now?
      24              MR. GRUBER: I'm thinking. I need to check

4
1111 25          with them. I haven't checked with them in a long


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               time. I'm thinking two days for the experts, a day
               and a half for mitigation, and possibly other lay
               witnesses. I'm sorry, that's about -- I'm sort of
     4         thinking out loud here. A basic block of four to
     5         five days. Two day statements would work. Even a
     6         one day statement would work.
     7               The one thing I know that would move on very
     8         quickly would probably be mitigation of witnesses.
     9         That would be -- two days should be given for that,
    10         at least a day and a half.
    11               THE COURT: Okay, let me work on -- I'll maybe
    12         give you some optionS, okay?
II 13                MR. GRUBER: The one thing I have a severe
    14         problem with is for the rest of this month.

    15               MR. WHITE: That would mean tomorrow, wouldn't
   16          it.

   17                THE COURT: November?
   18                MR. GRUBER: Yes, sir.
   19                THE COURT: I've got trial dockets and
   20          everything else.
   21                MR. GRUBER: One additional matter, we have a

   22          copy of a fingerprint card in 88-13574, MM, which is

   23          the retail theft, which would be a crime involving.

   24          dishonesty. It has fingerprints on it.
   25                THE COURT: Is that the one that goes with


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             that?
                     MR. GRUBER: The Court sustained an objection
             based on lack of fingerprints. Maybe Mr. Holmes can
             look at it.
                     MR. HOLMES: If you wish to pull the other two,
             I'll be glad to look at the fingerprint cards.
             Preliminarily, it appears to be the same.
                     MR. WHITE: You don't have to look at the
             copies? I'm objecting to his opinion until he at
             least looks at the other ones.
                     MR. GRUBER: My client wishes to be returned to
             DCI as quickly as possible.
                     MR. HOLMES: Your Honor, based on my
             examination, the State would not raise an objection.
                     THE COURT: Very good. That would make the
             exhibit, Exhibit 0. We'll attach the fingerprints
             and receive it in evidence, is that all right, Mr.
             Gruber?
                     MR. GRUBER: Thank you, sir.
                     THE COURT: So that will be the next numbered
             exhibit. So overrule the objection based on
             Mr. Holmes' examination of fingerprints.
                     (Whereupon, Defendant's Exhibit 0 was received
             in evidence as Defendant's Exhibit Number 12.)
                     (Whereupon, these proceedings were concluded.)


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       4                   THE CERTIFICATE OF REPORTER.



       6

       7               I, Jennifer J. Zanmiller, Court Reporter, do

       8         hereby certify that I was authorized to and did

       9         report the foregoing proceedings, and that pages 1

      10         through 376 are a true and correct record of my

      11         stenographic notes.

      12


41. 1314               Dated this 4th day of November, 2002.

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